Case 1:18-Cv-00068 Document 337 Filed in TXSD on 11/14/18 Page 1 of 2

Case Number.' CA-Z- 6 -- /S)“ <Q §

Szyle.~ gang T\L M w (/{5/4 ULG'\Q

 

 

 

 

 

 

 

 

 

 

Appearances.'

PLEASE PRINT CLEARLY

Counsel Re resenting.'

T¢{Cl §>\ 5|/\€5_` ’36\/¢/\+ g:p$

AJ.AM 1559\\{ ¢'/{.M `/fl

/¢Mv%m H/H% /,%q %,H/

Daze.~ /\/ov. ll»l, ?,Ol‘ZS Time.- [O'~ll»{am / 101 Zgam,

Law Clerk/Case Manager:

/ \ Tape# /begin /end
/ §`é..<, f(§ \/o./>`@

O"RDER/DOCKET ENTRY
Minutes of Rule 16 Scheduling Conference:
1.( ) No one appeared, and Rule 16 Conference Reset to
2.6/5 The above listed parties appeared, and a Docket Control Order entered

z ' M
34 g qm“£ WME?
W°L/€_
z) vl'li%d'fz: i/_qZZHEF'N\/zjé/ / f g
The Clerk Will file the ent?ian dM Counsel. /!f ;

g ‘/Beverly White, Case Manager to

 

 

 

 

Judge Frances H. Stacy

@Wd:§

Case 1:18-Cv-00068 Document 337 Filed in TXSD on 11/14/18 Page 2 of 2

, 5 y x ix » v 4__€/ 1140 \Jé 1 ,:€
Q€l/éind`cm% ~ :DW\P€/\/ efwf g+“" O / W jas 7
§§an …@ rca m f/~/C_ c / )4§'§,;717b ,¢ /§7%¢@;.7 GC,Q ’:_;/_

/C(,…N% S‘. Lc</‘;,¢) D-@>.¢Q\/W 4#2/.4<7 écm,»,d/

 

________~.`__-_.." _

\,»
O{ 1f[v\U/CA/Wl' Z:\%(rv</m/S ker/x ff/rz /¢ -7¢ @\/,

/1/:,\.\ f&f»»~/zs »/MALUEF
jM/¢ 5¢~/»»»» ~ /mw€,f

W/M ¢:,»/q
§C(U§ANZ L"n § M@;' norge 3¢' @;mj
DW@/(M HIL,//UMA ` pT/`@lm£/,`gp ., W-§§q gag-eo 9 §N/?_'

 

